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            EXHIBIT B
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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR PRESIDENT,        )    CIVIL ACTION No. 2-20-cv-966
INC.; GLENN THOMPSON; MIKE KELLY;     )
JOHN JOYCE; GUY RESCHENTHALER;        )
REPUBLICAN NATIONAL COMMITTEE;        )
MELANIE STRINGHILL PATTERSON; and     )
CLAYTON DAVID SHOW,                   )
                                      )
             Plaintiffs,              )
                                      )
     v.                               )
                                      )
KATHY BOOCKVAR, in her capacity as    )
Secretary of the Commonwealth of      )
Pennsylvania;et al.,                  )
                                      )
             Defendants.
                                      )


            DECLARATION OF JENNIFER HENSLEY IN SUPPORT OF
             RULE 24 MOTION TO INTERVENE AS A DEFENDANT BY
          CITIZENS FOR PENNSYLVANIA’S FUTURE AND SIERRA CLUB
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        I, Jennifer Hensley, declare as follows

        1.       I am over the age of 18, make this declaration from my personal knowledge, and

if called upon to do so, could and would competently testify to the matters set forth herein in a

court of law.

        2.       I am the Director of State Lobbying and Advocacy for the Sierra Club. I have

served in this capacity since 2014. Prior to my current role, I served for 14 years as the

Conservation Coordinator of the Illinois Chapter of the Sierra Club.

        3.       The Sierra Club is a 501(c)(4) non-profit, nonpartisan advocacy organization

incorporated and headquartered in California.

        4.       Founded in 1892, the Sierra Club is a national organization with 63 chapters and

approximately 799,000 members dedicated to exploring, enjoying, and protecting the wild places

of the Earth; to practicing and promoting the responsible use of the Earth’s ecosystems and

resources; to educating and enlisting humanity to protect and restore the quality of the natural

and human environment; and to using all lawful means to carry out these objectives.

        5.       The Sierra Club’s democracy team includes one full time staff member (who is

currently on parental leave) and four staff members who devote part of their time to democracy

and civic engagement work. This work is intended to encourage and enable diverse citizens

seeking to protect the environment and enact climate policy reforms to participate in the

democratic process.

        6.       The democracy team therefore works directly with state chapters across the

country on advocacy in support of policies that expand access to the ballot and that make elected

leaders more accountable to the public, and against policies that make it harder for voters to cast

their ballots.



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       7.       For example, in 2018, the Sierra Club participated in the successful campaign to

amend Florida’s constitution to restore voting rights to people with felony convictions, and in the

successful ballot initiatives in Missouri and Michigan to create nonpartisan redistricting

commissions. In 2018, the Sierra Club advocated against a North Carolina law that imposed a

strict voter ID requirement.

       8.       On a nonpartisan basis, the Sierra Club also endorses candidates and makes

recommendations to its members identifying local, state, and national candidates who are likely

to support the environmental and climate policy reforms that will advance the organization’s

mission.

       9.       Because of the challenges posed by voting during a pandemic this year, the Sierra

Club has advocated for states to adopt no-excuse absentee voting (e.g., in Massachusetts). The

Sierra Club also plans to roll out a state-by-state messaging campaign later this year to educate

voters on the policy changes in their states with respect to mail voting and to provide information

on how voters can cast mail ballots for the November election.

       10.      The Sierra Club has devoted resources to educating voters about mail voting this

year because the organization wants to make sure that Americans can vote safely during the

Covid-19 pandemic without putting their personal health at risk. For many people, voting safely

this year means voting from home or as close to home as possible.

       11.      The Sierra Club supported the passage of Act 77 and believes that a strong

democracy in Pennsylvania requires participation from citizens across the Commonwealth and

that voters must be able to participate in the democratic process this year while staying safe.

       12.      In particular, the Sierra Club is working to ensure that voters in poor and minority

communities—which have the highest pollution burdens, face the greatest risk from Covid-19,



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and underrepresented in democratic bodies—can vote by mail or can take the necessary

precautions if they must cast their ballots in person.

        13.         The Pennsylvania Chapter of the Sierra Club has offices in Harrisburg, Pittsburgh,

Philadelphia, and Lehigh Valley, along with nine active regional groups all across the state.

There are eleven employees of the Pennsylvania Chapter, and there are three employees of the

national Sierra Club that work in Pennsylvania on issues pertaining to the Commonwealth.

        14.         The Pennsylvania Chapter has more than 32,000 members and is the fourth

largest state chapter of the national organization.

        15.         Including its members, communications from the Pennsylvania Chapter reach

between 130,000 and 140,000 constituents.

        16.         In advance of elections, the Pennsylvania Chapter typically sends its constituents

emails regarding voter registration deadlines and get-out-the-vote messages. In addition, the

Chapter’s regional groups have occasionally engaged in voter registration efforts.

        17.         The Pennsylvania Chapter endorses state and local candidates, and educates

constituents and other voters about those candidates through email and digital messaging,

candidate forums, and, in 2018, an independent expenditure campaign that included door-

knocking for candidates and a get-out-the-vote effort in the weeks leading up to the election.

        18.         The Pennsylvania Chapter is a member of the Fair Districts PA Coalition, which

advocates for an independent citizens’ redistricting commission to redraw Pennsylvania’s

districts fairly.

        19.         This year, after the passage of Act 77, the Pennsylvania Chapter sent an email to

its constituents (and later posted a message on its website) explaining how Pennsylvanians could

cast a mail in ballot for the June 2, 2020 primary, advising constituents about mail voting



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deadlines, and emphasizing the importance of voting by mail during the pandemic.

        20.     The Pennsylvania Chapter plans to send similar additional messaging to its

constituents in advance of the November election.

        21.     In addition, the Pennsylvania Chapter held a meeting earlier this year with a group

of volunteers and residents, comprised of primarily Black and low income Pittsburgh residents,

to offer information on vote-by-mail and how members could request and cast their mail ballots.

        22.     The Sierra Club has policy differences from state and local officials with respect

to how to make the November 2020 General Election safer for voters. As one example, the

Pennsylvania Chapter believes that the state should adopt a universal vote-by-mail system in

which all registered voters would receive a mail ballot. To date, none of the Defendants in this

action have indicated that they intend to adopt a universal-vote-by-mail system.

        23.     The Sierra Club has had disagreements with Pennsylvania officials. For example,

the Sierra Club has engaged in four separate legal actions against the Pennsylvania Department

of Environmental Protection in the last four years.

        24.     Given that mail service has been disrupted by Covid-19, and Pennsylvania’s

experience in the June primary election—where a backlog in processing mail ballot applications

and delays in sending ballots to voters threatened voters’ ability to cast their ballots on time—the

Sierra Club is concerned about Pennsylvania members and constituents being able to cast mail

ballots that count if drop-boxes do not remain available.

        25.     The Sierra Club’s interests would be directly and significantly impacted if the
Plaintiffs in this lawsuit prevail in their efforts to curtail the ability of voters to cast their votes by

mail and to cast such ballots in drop boxes. The Sierra Club and its Pennsylvania Chapter would




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